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                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA )
                          )
             vs.          ) PRESENTENCE INVESTIGATION REPORT
                          )
                          ) Docket No.: 0973 2:13CR00484-11
        Claudia Garcia    )
                          )

Prepared for:        The Honorable Christina A. Snyder
                     United States District Judge

Prepared by:         Pamela Chen
                     USPO
                     Los Angeles, CA
                     213-894-6022
                     Pamela_Chen@cacp.uscourts.gov

Assistant U.S. Attorney                       Defense Counsel
J. Mark Childs                                James S. Bisnow
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Sentence Date:       March 9, 2015

Offense:             Count 1:
                     Conspiracy to possess with intent to distribute and to distribute
                     marijuana
                     21 U.S.C. § 846, 21 U.S.C. 841(b)(1)(C)
                     Not more than 20 years imprisonment/$1,000,000.00 fine
                     (Class C Felony)

Release Status:      Date of arrest: 08/06/2013; Released on 08/20/2013 on $200,000
                     appearance bond with a no justification affidavit of surety by
                     defendant’s mother and with a $150,000 (full equity deeded)
                     affidavit of surety with deeding of property, and Pretrial Services
                     Agency supervision.

Detainers:           Outstanding failure to appear, Riverside County Superior Court,
                     docket number 17756NL.


Date Report Prepared: 1/26/2015                                     Date Report Revised:
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                               Matters set for compliance, Los Angeles County Superior Court,
                               docket numbers SD623868, 0793711, 0480362A, 1055266, and
                               A190565
Codefendants:                  See report
Related Cases:                 None


Identifying Data:

Date of Birth:    December 28, 1975
Age:              39
Race:             White
Hispanic Origin: Hispanic origin
Sex:              Female
SSN#:             XXX-XX-XXXX
FBI#:             610600KC2
USM#:             65351-112
State ID#:        AXXXXXXXX
ICE#:             AXXXXXXXX
PACTS#:           135509
Education:        GED
Dependents:       2
Citizenship:      Citizen of Another Country
Immigration Status: Permanent Resident Country
                  of Birth:    Mexico
Place of Birth:   Mexico
Legal Address:    2656 Arlington Avenue
                  Los Angeles, California 90018
Residence Address: 2656 Arlington Avenue
                  Los Angeles, California 90018

Alias(es):                     Also Known As: Rico, Claudia Gabriela; Gang Name: Giggles;
                               Also Known As: Garcia, Claudia Gabriela Rangel

Alternate IDs:                 None.




 Restrictions on Use and Redisclosure of Presentence Investigation Report. Disclosure of this presentence investigation report
 to the Federal Bureau of Prisons and redisclosure by the Bureau of Prisons is authorized by the United States District Court
 solely to assist administering the offender’s prison sentence (i.e., classification, designation, programming, sentence calculation,
 pre-release planning, escape apprehension, prison disturbance response, sentence commutation, or pardon) and other limited
 purposes, including deportation proceedings and federal investigations directly related to terrorist activities. If this presentence
 investigation report is redisclosed by the Federal Bureau of Prisons upon completion of its sentence administration function, the
 report must be returned to the Federal Bureau of Prisons or destroyed. It is the policy of the federal judiciary and the Department
 of Justice that further redisclosure of the presentence investigation report is prohibited without the consent of the sentencing


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                         GUIDELINE SUMMARY

      Case Name: Claudia Garcia
      Docket No.: 0973 2:13CR00484-11
      Guideline Edition: November 1, 2014

BASE OFFENSE LEVEL: Guideline: USSG §2D1.1(a)(5) and (c)(8)             24

SPECIFIC OFFENSE CHARACTERISTICS                                         0

ROLE IN THE OFFENSE                                                     -3

VICTIM ADJUSTMENT                                                        0

OBSTRUCTION OF JUSTICE                                                   0

ADJUSTED OFFENSE LEVEL                                     21

   MULTIPLE COUNT ADJUSTMENT                                           N/A

   CAREER OFFENDER/CRIM. LIVELIHOOD/
                                                                       N/A
   ARMED CAREER CRIMINAL/REPEAT SEX OFFENDER

   ACCEPTANCE OF RESPONSIBILITY                                         -3

TOTAL OFFENSE LEVEL                                        18

   CRIMINAL HISTORY CATEGORY                               III

SENTENCING OPTIONS:

GUIDELINE SENTENCE 33 to 41 Months

SUPERVISED RELEASE 3 Years

FINE $6,000 to $60,000




                                        3
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PART A. THE OFFENSE

           Charge(s) and Conviction(s)

1.         On July 18, 2013, the government filed a seven-count indictment that names Jose
           Rodriguez-Landa (Rodriguez-Landa), Michael Moreno (Moreno), Fred Anthony
           Montoya (Montoya), Freddie Montes, (F. Montes), Luis Gerardo Vega (Vega),
           Manuel Larry Jackson (Jackson), Jimmy Ruben Soto (Soto), Raymond Lozano
           (Lozano), Efrain Isak Rosales (Rosales), Sonia Apodaca (Apodaca), Claudia
           Garcia (Garcia), Adam Rios (Rios), and Omar Hugo Robles (Robles). Garcia is
           named in Counts 1 and 2.

2.         On September 18, 2014, Garcia pled guilty to count one of the seven-count
           indictment.

3.         Count one alleges that in or about January 2011 to July 18, 2013, Garcia, along
           with Rodriguez-Landa, Moreno, Montoya, F. Montes, Vega, Jackson, Soto,
           Lozano, Rosales, Apodaca, Rios, Robles, co-conspirator Hugo Montes (H.
           Montes), and others violated 21 U.S.C. § 846 by conspiring to distribute and
           possess with intent to distribute methamphetamine and marijuana in violation of
           21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii) and 841(b)(1)(B)(vii).1

           Written Plea Agreement

4.         Pursuant to a written plea agreement, the parties agree to the following guideline
           factors:

5.         Base offense level: 26 [U.S.S.G. §§ 2D1.1(c)(7)]

6.         Proposed amendment to U.S.S.G. § 2D1.1:                     -2

7.         Mitigating role           -3 [U.S.S.G. § 3B1.2]

8.         Acceptance                -3 [U.S.S.G. § 3E1.1]

9.         With the exception for the above, the parties agree not to seek or argue that any
           specific offense characteristics, adjustments, or departures relating to the offense
           level be imposed.

10.        The parties also reserve the right to argue for a sentence outside the sentencing
           range established by the Sentencing Guidelines pursuant to the factors set forth in
           18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7).

11.        The government conditionally agrees:



1
    The defendant, however, pleaded to 21 U.S.C. § 846, 841(b)(1)(C) and only marijuana.


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      a) To move to dismiss the remaining count of the indictment against the defendant.
         However, the defendant agrees that the Court may consider any dismissed charges
         for the purposes of sentencing.

      b) To recommend up to a three-level reduction for acceptance of responsibility.

      c) Not to file an information, pursuant to 21 U.S.C. § 851, seeking to increase the
         defendant’s punishment based on her prior drug felony (or felonies).

12.      Count 2, to be dismissed, charged 21 U.S.C. § 841(a)(1), (b)(1)(B)(vii), 18 U.S.C.
         § 2: Possession with intent to distribute marijuana.

         Co-defendant Status (as of January 13, 2015)

13.      Jose Rodriguez-Landa: Proceedings are pending.

14.      Michael Moreno: Proceedings are pending.

15.      Fred Anthony Montoya: Proceedings are pending.

16.      Freddie Montes: Proceedings are pending.

17.      Luis Gerardo Vega: Proceedings are pending.

18.      Manuel Larry Jackson: Proceedings are pending.

19.      Jimmy Ruben Soto: On November 26, 2014, pled guilty to count one of the
         indictment. Sentencing scheduled for March 9, 2015.

20.      Raymond Lozano: On September 26, 2014, pled guilty to count one of the
         indictment. Sentencing scheduled for April 13, 2015.

21.      Efrain Isak Rosales: Proceedings are pending.

22.      Sonia Apodaca: Proceedings are pending.

23.      Claudia Garcia: Subject of this report.

24.      Adam Rios: On September 19, 2014, pled guilty to count one of the indictment.
         Sentencing scheduled for February 26, 2015.

25.      Omar Hugo Robles: On September 18, 2014, pled guilty to count one of the
         indictment. Sentencing is pending.

         Pretrial Service Adjustment

26.      Garcia was arrested on August 6, 2013. On August 20, 2013, Garcia was
         released on a $200,000 appearance bond with a no justification affidavit of surety
         by Garcia’s mother and a $150,000 (full equity deeded) affidavit of surety with


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      deeding of property. Garcia was ordered to comply with Pretrial Supervision
      Agency (PSA) supervision.

27.   According to PSA records, Garcia has complied with the ordered conditions of
      her release.

      The Offense Conduct

28.   Information regarding the offense was obtained from the following: The seven-
      count indictment; the plea agreement; and the case materials provided by the
      Assistant United States Attorney (AUSA).

      Background

29.   Rodriguez-Landa, Moreno, Montoya, Vega, Jackson, Soto, Lozano, Sonia
      Apodaca, and Garcia were members and/or associates of the "Mexican Mafia" or
      "EME," which is Spanish for the letter "M."

30.   The Mexican Mafia is an organized group of individuals that controls much of the
      distribution of drugs and other criminal activities within the California state
      prisons, California county jails, and some federal prisons. In addition, outside of
      prison, the Mexican Mafia exercises control over the criminal activities, including
      drug trafficking, of Hispanic street gangs throughout Southern California and
      elsewhere.

31.   Members of the Mexican Mafia generally are more senior members of local street
      gangs in the Southern California area and elsewhere. The majority of Mexican
      Mafia members and associates are incarcerated in California prisons and jails or in
      federal prison. Most incarcerated Mexican Mafia members and associates are
      housed in high-security prisons, including Pelican Bay State Prison (referred to in
      Spanish coded language as "La Playa Azul'' or "La Playa"), the United States
      Penitentiary in Lewisburg, Pennsylvania, and the Administrative Maximum
      Facility at the United States Penitentiary in Florence, Colorado.

32.   Mexican Mafia members and associates are generally able to organize and direct
      the activities of other Hispanic prison inmates, including members and associates
      of Southern California based Hispanic street gangs, who comprise a significant
      percentage of the inmates within the California penal system. Indeed, Mexican
      Mafia members and associates wield such power among the prison population that
      they are able to order that acts of violence be carried out against other prison
      inmates and against street gang members outside of prison. Because of the
      substantial power they wield both inside and outside of prison, Mexican Mafia
      members and associates are able to provide protection and status to other inmates,
      including inmates who are not members of Hispanic street gangs. Generally,
      Mexican Mafia members and associates require that inmates who are not members
      of Hispanic street gangs provide services and/or payments in exchange for
      protection within prison or jail.

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33.   Street gangs controlled by and/or affiliated with the Mexican Mafia generally
      include the number "13" in their gang name, with the number "13" representing
      the thirteenth letter of the alphabet, the letter "M." Members and associates of
      street gangs controlled by and/or affiliated with the Mexican Mafia must pay
      "taxes" to members and associates of the Mexican Mafia in order to be permitted
      to maintain control over their territories in order to distribute drugs and engage in
      other criminal activity, and in order to ensure their protection once gang members
      enter California prisons or local jails. Due to their control over Hispanic street
      gangs, Mexican Mafia members and associates are able to direct the drug
      trafficking activities of Hispanic street gangs, including what territories or areas
      they are permitted to distribute drugs. Mexican-Mafia members and associates
      also provide permission to distribute drugs and protection inside and outside
      prison to other criminal groups who provide them with services and/or payments,
      including Mexico-based drug cartels.

34.   Since the majority of Mexican Mafia members are incarcerated, Mexican Mafia
      members and associates in prisons or jails send instructions to local street gangs
      and other Mexican Mafia members and associates, both inside and outside prison
      and jail, via telephone calls, prison-system e-mails, letters, including letters mailed
      to fictitious individuals, and "kites," which are notes smuggled by prisoners.
      Mexican Mafia members and associates generally use coded language in order to
      conceal the true nature of their discussions with and instructions to criminal
      associates. In order to pass on instructions and information from prison and jail,
      Mexican Mafia members and associates often rely on trusted female associates
      (known as "secretaries") who communicate with the incarcerated Mexican Mafia
      members and associates and relay their instructions to others. These secretaries are
      often treated as respected criminal figures by members of street gangs controlled
      by and/or affiliated with the Mexican Mafia.

35.   F. Montes, Rosales, Rios, Robles, co-conspirator Hugo Montes (H. Montes), and
      others were members and associates of "La Familia Michocana" drug cartel and its
      successor the "Knights Templar" drug cartel (in Spanish, "Los Caballeros
      Templarios") (hereinafter, both referred to as "La Familia").

36.   La Familia is a large-scale drug cartel and organized crime syndicate based in the
      Mexican state of Michoacan, Mexico. La Familia is responsible for the trafficking
      of hundreds of thousands of pounds of controlled substances, including
      methamphetamine, from Mexico into the United States, and it controls drug
      trafficking routes throughout Mexico for the purpose of smuggling drugs into the
      United States. La Familia has been previously allied with other major drug cartels
      in Mexico to augment its power and influence in the drug trade.

      Roles of the Conspirators

37.   F. Montes, Rosales, Rios, Robles, coconspirator H. Montes, and other members
      and associates of La Familia distributed and coordinated the distribution of


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      methamphetamine and marijuana to others in the Southern California area,
      including Los Angeles County.

38.   Rodriguez-Landa, Moreno, Montoya, Vega, Jackson, Soto, Lozano, Apodaca, and
      other members and associates of the Mexican Mafia, assisted, facilitated, and
      aided the possession with intent to distribute and distribution of drugs by members
      and associates of La Familia by ordering, instructing, and informing Hispanic
      gang members to protect La Familia drug shipments and sales, to prevent criminal
      taxation of La Familia drug shipments and sales, and to collect drug debts.

39.   Rodriguez-Landa, Moreno, Montoya, Vega, Jackson, Soto, Lozano, Apodaca, and
      other members and associates of the Mexican Mafia assisted, facilitated, and aided
      the possession with intent. to distribute and distribution of drugs by members and
      associates of La Familia drug cartel by protecting and arranging for the protection
      of incarcerated members and associates of La Familia from violence and criminal
      taxation.

40.   In exchange for the Mexican Mafia's services and protection, members and
      associates of La Familia, including F. Montes and co-conspirator H. Montes,
      provided thousands of dollars in drug proceeds and pound-quantities of
      methamphetamine and marijuana at a discounted price to members and associates
      of the Mexican Mafia.

41.   Rodriguez-Landa, Moreno, Soto, Montoya, Vega, Jackson, Lozano, Apodaca,
      Garcia, and other members and associates of the Mexican Mafia communicated,
      including via telephone and in-person meetings, with members and associates of
      La Familia, in order to discuss how the Mexican Mafia could facilitate the
      possession with intent to distribute and distribution of drugs by members and
      associates of La Familia within the United States.

42.   Moreno, Montoya, Vega, Jackson, Soto, Lozano, Apodaca, and other members
      and associates of the Mexican Mafia distributed, sent, and arranged the delivery of
      drug proceeds provided by members and associates of La Familia to incarcerated
      members of the Mexican Mafia.

43.   F. Montes, Lozano, Apodaca, coconspirator H. Montes, and others facilitated
      communications between members and associates of La Familia to incarcerated
      Mexican Mafia members and associates.

44.   Moreno, Montoya, Soto, Lozano, and Apodaca facilitated communications about
      the drug trafficking alliance of La Familia and the Mexican Mafia between
      incarcerated Mexican mafia members and out-of-custody Mexican Mafia members
      and associates.

45.   Soto picked up and delivered proceeds derived from the sale of drugs supplied by
      R. Montes.



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46.   Garcia, at the direction of Vega, transported controlled substances and drug
      proceeds, and communicated messages about drug transactions between Vega and
      others.

47.   Rios and Robles, at the direction of F. Montes, transported to others, including to
      Vega, methamphetamine sold by La Familia members and associates at a
      discounted price.

48.   Rios, at the direction of F. Montes, transported drug proceeds.

      Role of Garcia

49.   In and around January 2011 to November 2011, Garcia agreed and conspired with
      at least one other person charged in this conspiracy, including, among others,
      Vega, to distribute, and possess with intent to distribute marijuana. In furtherance
      of this conspiracy to distribute and possess with intent to distribute marijuana,
      Garcia, at the direction of Vega, transported marijuana and drug proceeds, and
      communicated messages about drug transactions between Vega and others during
      the year 2011.

      October 10, 2011

50.   In a telephone call on October 10, 2011, Garcia informed Vega that an unindicted
      co-conspirator had a problem with drugs that were provided by Vega. When Vega
      told Garcia to inform the unindicted co-conspirator to do the drug deal anyway,
      Garcia agreed to do so.

51.   In a subsequent telephone call, Vega instructed Garcia to ask an unindicted co-
      conspirator if the unindicted co-conspirator had sold the drugs that were provided
      by Vega. Garcia agreed to do so.

      October 11, 2011

52.   In a telephone call on October 11, 2011, Garcia informed Vega that an unindicted
      co-conspirator, who had received drugs from Vega, would have drug proceeds
      available for Vega later that evening. Vega told Garcia to inform the unindicted
      co-conspirator to have the money ready to be picked up.

53.   In a subsequent telephone call, Vega informed Garcia that he (Vega) was
      negotiating the price for the purchase of 200 pounds (equivalent to 90 kilograms)
      of marijuana. In response, Garcia agreed to update Vega’s drug customer about
      Vega’s pending drug deal.

54.   In a third telephone call, Vega informed Garcia that he (Vega) would acquire 300
      pounds (equivalent to 136 kilograms) of marijuana the next day. Garcia informed
      Vega of her communications with various drug customers who wanted to purchase
      marijuana from Vega and Garcia.


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          October 12, 2011, to October 20, 2011

 55.      From October 12, 2011, to October 20, 2011, there were phone conversations
          during which Garcia and Vega allegedly discussed the storage and/delivery of
          marijuana on Vega’s request and behalf, and the relaying of messages back and
          forth with an unindicted co-conspirator on Vega’s behalf.2

          Victim Impact

 56.      There are no identifiable victims in this offense other than societal interests.

          Adjustment for Obstruction of Justice

 57.      The probation officer has no information indicating the defendant impeded or
          obstructed justice.

          Adjustment for Acceptance of Responsibility

 58.      On January 7, 2015, the Probation Officer interviewed Garcia at the United States
          Probation Office in Los Angeles, California. Counsel was present. Garcia said
          that the factual basis in the plea agreement is true and correct.

 59.      Further, the defendant provided the following information regarding acceptance of
          responsibility:

       a) In 2008, the defendant was charged in a state case for a possession of controlled
          substance incident that allegedly occurred in February 2008. In 2009, she pled
          guilty to transporting or offering a controlled substance for sale. After satisfying
          the conditions of probation, the charge was reduced to a being under the influence
          of a controlled substance offense.

       b) The instant offense originated in August 2011. In wiretaps during the month of
          October 2011, Vega, who was Garcia’s boyfriend at the time, directed Garcia to
          engage in conduct that is the subject of this case. At the time, Garcia was in the
          process of divorcing her husband, who was in prison.

       c) After completing the county jail time imposed in the state case, the defendant
          began working at Home Boys Industry in June 2012, where she learned about the
          Tarzana Treatment Center.3 In October 2012, she enrolled herself into the three-
          month inpatient residential treatment program in the Tarzana Treatment Center.




 2
  Conduct alleged in the indictment but not agreed to in the plea agreement.
 3
  Beginning date of participation in Homeboy Industries verified by letter of reference from the Executive Director,
 who described Homeboy Industries as an employment referral center for at-risk and formerly gang-involved youth,
 and economic development program.


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       d) After staying at the Tarzana Treatment Center for eight months, she moved to
          Sleep Tight, a sober living facility.4 She terminated all associations with gang
          members. From May 24, 2013, until her arrest for the instant case in August 2013,
          she was living at the sober living facility. Garcia explained that she enrolled in the
          Tarzana Treatment Center because she had decided to move away from using
          drugs so she could be with her children.

          Offense Level Computation

 60.      The 2014 Guidelines Manual, incorporating all guideline amendments, was used
          to determine the defendant's offense level. USSG §1B1.11.

 61.      Count 1: Conspiracy to possess with intent to distribute and to distribute
          controlled substances

 62.      Base Offense Level: USSG § 2D1.1 is the applicable guideline for a
          violation of 21 U.S.C. § 846. As USSG §§ 2D1.1(a)(1) to (a)(4) do not
          apply, the offense level is determined by the provisions set forth in
          U.S.S.G. § 2D1.1(a)(5).

 63.      In a phone call on October 11, 2011, Garcia agreed to relay information to
          Vega’s drug customer that Vega was negotiating the price for the purchase
          of 200 pounds/90 kilograms of marijuana. Later the same day in another
          phone call, Vega informed Garcia that he (Vega) would acquire 300
          pounds/136 kilograms of marijuana the next day. Garcia informed Vega of
          her communications with various drug customers who wanted to purchase
          marijuana from Vega and Garcia. During the course of this conspiracy,
          Garcia is accountable for at least 226 kilograms of marijuana because she
          knew that Vega was dealing in this quantity of marijuana.

 64.      Pursuant to the Drug Quantity Table set forth in subsection (c), the base
          offense level is 24 because the defendant’s offense involved more than 100
          kilograms but less than 400 kilograms of marijuana. USSG §2D1.1(a)(5)
          and (c)(8).                                                                                           24

 65.      Specific Offense Characteristics: None.                                                                 0

 66.      Victim Related Adjustment: None.                                                                        0

 67.      Adjustment for Role in the Offense: USSG § 3B1.2 provides for a two to
          four-level reduction if the defendant was a minor or minimal participant in
          any criminal activity. Application Note 3(A) states that this range of

 4
   Verified by letter from Primary Counselor at Tarzana Treatment Center and letter from Lanita Hamilton of Sleep
 Tight Tonight Incorporated, who reported that Garcia began residing at Sleep Tight Tonight Transitional Housing in
 June 2013. According to Lanita Hamilton, Garcia, an on-site manager, was a great role model and great inspiration
 to the other men and women at the facility. Lanita Hamilton said that Garcia gave back with “such grace and
 humility.”


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       adjustments applies to a defendant who plays a part in committing the
       offense that makes her substantially less culpable than the average
       participant. This application note further states:

          A defendant who is accountable under § 1B1.3 (Relevant Conduct)
          only for the conduct in which the defendant personally was involved
          and who performs a limited function in concerted criminal activity is
          not precluded from consideration for an adjustment under this
          guideline. For example, a defendant who is convicted of a drug
          trafficking offense, whose role in that offense was limited to
          transporting or storing drugs and who is accountable under § 1B1.3
          only for the quantity of drugs the defendant personally transported or
          stored is not precluded from consideration for an adjustment under
          this guideline.

 68.   Application Note 3(C) in U.S.S.G. § 3B1.2 instructs that “the determination
       whether to apply subsection (a) or subsection (b), or an intermediate
       adjustment, is based on the totality of the circumstances and involves a
       determination that is heavily dependent upon the facts of the particular
       case.”

 69.   The indictment names members and associates of the Mexican Mafia, along
       with members and associates of the La Familia drug cartel. Based on the
       information received, and the defendant’s criminal history and personal
       history, there is no evidence that Garcia (who is a known member of “The
       Magician’s Club” (TMC) as evidenced in her criminal history and personal
       history) was not more than an associate of Vega.

 70.   In this two-and one-half year conspiracy that involved 13 named co-
       conspirators, Garcia’s role was limited to relaying messages back and forth
       between Vega and others on Vega’s behalf and direction over the course of
       one month. These were messages about Vega’s drug transactions and drug
       proceed transactions. There is no evidence that Garcia was involved with
       any of the co-conspirators named in this indictment, other than Vega.
       Further, the evidence made available to the undersigned does not establish
       that Garcia distributed drugs or transported drug proceeds. Compared with
       Vega and the other named co-conspirator defendants, Garcia was a
       substantially less culpable participant.

 71.   On the other hand, a minimal role reduction for Garcia is not appropriate.
       In multiple phone calls from October 10, 2011, to October 20, 2011,
       Garcia and Vega discussed transactions involving drugs and drug
       proceeds. Garcia knew that Vega was engaged in multi-kilogram
       marijuana drug transactions. Further, Garcia was trusted to communicate
       messages to Vega’s drug purchasers. Based on the extent of her knowledge



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       and trusted position, she could not be described as a minimal participant in
       a drug trafficking offense.

 72.   Considering the above, a three level role reduction has been applied as
       Garcia is considered to be more than a minimal but less than a minor
       participant in this drug conspiracy.                                               -3

 73.   Adjustment for Obstruction of Justice: None.                                        0

 74.   Adjusted Offense Level (Subtotal): 21                                              21

 75.   Chapter Four Enhancement: None.                                                     0

 76.   Acceptance of Responsibility: The defendant has pleaded guilty and has
       admitted her involvement in the offense to the Probation Officer.
       Accordingly, a two-level reduction for acceptance of responsibility has
       been applied. USSG §3E1.1(a).                                                      -2

 77.   Acceptance of Responsibility: The additional one-level reduction applies
       upon motion of the Government stating that the defendant timely notified
       authorities of her intention to enter a guilty plea, and provided that the
       adjusted offense level prior to operation of subsection (a) is level 16 or
       greater.                                                                           -1

 78.   Total Offense Level: 18                                                            18

       Offense Behavior Not Part of Relevant Conduct:

 79.   None.

 PART B. THE DEFENDANT’S CRIMINAL HISTORY

 80.   A criminal record inquiry was conducted through the Justice Data Interface
       Controller System (JDIC) which accesses several databases on the county, state
       and national level, including the California driver's license and State Identification
       Number records maintained by the California Department of Motor Vehicles
       (DMV), and the Criminal Identification Index record (CII) as maintained by the
       California Department of Justice. Arrest records and court records were obtained
       from the following additional sources: Los Angeles County Court Superior Court
       – Juvenile, Metropolitan; the Trial Court Inquiry System serving the Los Angeles
       County Superior Court (TCIS); Los Angeles Police Department (LAPD); and Los
       Angeles County Sheriff’s Department (LASD).

       Juvenile Adjudication(s)

 81.   None.




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       Adult Criminal Conviction(s)

       Date of                               Date Sentence
       Arrest        Conviction/Court        Imposed/Disposition      Guideline         Pts

 82.   10/13/2004 415 PC:               07/07/2005: fine              4A1.2(c)(1)             0
        (Age 28)  Fight/noise/offensive
                  words (Ct. 2)(infr.)/
                  Los Angeles Co. Sup.
                  Crt., Hollywood, CA;
                  Docket No.:
                  5HL01269

       Court documentation verifies that the defendant was represented by counsel. The
       count of battery was dismissed.

       An arrest report is not available.

 83.   02/06/2008 11350(a) H&S:        12/10/2010: 18 mos.            4A1.1(b)                2
        (Age 32)  Use/under influence  prob., 120 days CJ             4A1.2(e)(2)
                  of controlled subst.
                  (Ct. 8)(fel.)/
                  Los Angeles Co. Sup.
                  Crt., Central, CA;
                  Docket No.:
                  BA337388

       Court documentation verifies that the defendant was represented by counsel.

       On June 9, 2009, the defendant pled guilty to a felony violation of 11352(a) H&S:
       transportation/sell controlled substance (count 7). The court sentenced the
       defendant to 36 months of probation. However, the court agreed that the defendant
       could have this count of conviction reduced to an 11350 H&S charge if she
       satisfied all the conditions of probation, and she returned and surrendered to serve
       120 days of county jail at the end of the probationary period.

       On December 10, 2010, the defendant pled guilty to a violation of 11350(a) H&S:
       Use/under the influence of a controlled substance (see above). The court vacated
       the plea and sentence imposed on June 9, 2009.

       The court revoked probation on March 3, 2011. On June 15, 2011, the court
       reinstated probation to June 15, 2014, and modified probation to include the
       condition that the defendant stay away from TMC 13 gang members.

       According to the arrest report, the victim reported that on February 6, 2008,
       Bibiano Rico approached him (victim), who was standing in front of his residence.
       After yelling at the victim, Bibiano Rico used a semi-automatic handgun to fire

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       five to seven shots at the victim. Bibiano Rico then fled on foot. The victim was
       not injured.

       Based on this assault with a deadly weapon report, on March 5, 2008, the police
       officers executed a search warrant at 2662 Arlington Avenue, where Bibiano Rico
       lived with the defendant. The defendant and Bibiano Rico were present in the
       residence. In the defendant’s bedroom, there was a baggie containing three
       MDMA pills inside the dresser, an electronic scale, and $232 in cash. On the
       living room floor and kitchen area, there was 4.39 grams of rock cocaine base that
       allegedly were packaged as $5 rocks, $20 rocks, and $40 rocks into four separate
       packages. In the closet, there was a box of live .38, .357, and 9 mm rounds.

       The defendant said that she possessed the rock cocaine base for her personal use.

       Pursuant to the search warrant, the police officers also searched a burgundy Dodge
       Caravan parked on the property. The registered vehicle owner said that Bibiano
       Rico was the last person who drove the Caravan. Inside the glove box, there was a
       baggie containing 1.91 grams of rock cocaine base.

       The police officer identified Bibiano Rico and the defendant (moniker of Giggles)
       as members of “The Magician’s Club” (TMC).

       Criminal History Computation

 84.   The criminal convictions above result in a subtotal criminal history score of two.

 85.   The defendant committed the instant offense while under a criminal justice
       sentence for Los Angeles County Superior Court, case number BA337388.
       Therefore, two points are added. USSG §4A1.1(d).

 86.   The total criminal history score is four. According to the sentencing table in USSG
       Chapter 5, Part A, a criminal history score of four establishes a criminal history
       category of III.

       Other Criminal Conduct

       Date of
       Arrest        Charge                  Agency                 Disposition

 87.   02/05/1993 459 PC: Burgl.             Los Angeles Police     02/06/1993: Rel. to
       (Age 17)                              Department             juvenile hall


       Partial court documentation indicates that the defendant was the subject of this law
       enforcement contact. Attorney representation is unknown.

       An arrest report is not available.


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 88.   11/12/2005 4060 B&P: Poss. of     Los Angeles County 03/10/2006: Dism.
       (Age 29)   prescription pills w/o Sheriff's          interest of justice
                  prescription (Ct.      Department
                  1)(misd.),
                  11375(b)(2) H&S:
                  Poss. of a designated
                  subst. (Ct. 2)(misd.);
                  Los Angeles Co. Sup.
                  Crt., Beverly Hills,
                  CA, Docket No.:
                  6BV00060

       Court documentation verifies that the defendant was represented by counsel.

       An arrest report is not available.

 89.   02/09/2011 186.22(a) PC:             Los Angeles Police     02/09/2011: Prob.
       (Age 35)   Participate in            Department             revkd. in lieu of filing
                  criminal street gang

       According to the CII, the defendant was the subject of this law enforcement
       contact. Attorney representation is unknown.

       According to the arrest report, the victim reported that two carjackers exited from
       a blue Jeep Cherokee, and then carjacked his (victim’s) car. While investigating
       the carjacking report, the police noticed a blue Jeep Cherokee pull into the
       driveway at 1171 Wilton Place. The defendant was the driver, and Robert Garcia
       was the passenger. After the defendant parked in the driveway, Robert Garcia
       exited the jeep and ran into 1171 Wilton Place. A few moments later, Robert
       Garcia, who was carrying a bag, returned to the jeep. During the subsequent traffic
       stop of the jeep, the police officer found a loaded semi-automatic .22 caliber
       handgun and a loaded .22 caliber magazine in a gun case on the floor behind the
       front passenger seat.

       The police officer identified Robert Garcia as a TMC gang member since 2005,
       and the defendant as a TMC gang member since 1999.




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       Pending Charges

       Date of
       Arrest      Charge                  Agency              Disposition

 90.   11/15/2007 Unknown; Los            Metropolitan Transit Matter set for
       (Age 31)   Angeles Co. Sup.        Authority            compliance, further
                  Crt., Metropolitan,                          action required
                  CA, Docket No.:
                  SD623868

       According to the DMV, the defendant is the subject of this law enforcement
       contact. Attorney representation is unknown.

 91.   05/06/2009 Unknown; Los            Los Angeles Police   Matter set for
       (Age 33)   Angeles Co. Sup.        Department           compliance, further
                  Crt., Metropolitan,                          action required
                  CA, Docket No.:
                  0793711

       According to the DMV, the defendant is the subject of this law enforcement
       contact. Attorney representation is unknown.

 92.   08/15/2009 Unknown; Los            Los Angeles Police   04/22/2010: Matter
       (Age 33)   Angeles Co. Sup.        Department           set for compliance,
                  Crt., Metropolitan,                          further action
                  CA, Docket No.:                              required
                  0480362A

       According to the DMV, the defendant is the subject of this law enforcement
       contact. Attorney representation is unknown.

 93.   11/15/2009 24252(a) VC: Fail. to   Unknown              10/20/2010: Matter
       (Age 33)   maintain lighting                            set for compliance,
                  equipment in good                            further action
                  working order; Los                           required
                  Angeles Co. Sup.
                  Crt., Metropolitan,
                  CA, Docket No.:
                  1055266

       According to the DMV, the defendant is the subject of this law enforcement
       contact. Attorney representation is unknown.




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 94.    06/08/2010 16028(a) VC: Fail. to     Unknown                09/13/2010: Matter
        (Age 34)   provide evidence of                              set for compliance,
                   financial resp.                                  further action
                   24252(a) VC: Fail. to                            required
                   maintain lighting
                   equipment in good
                   working order; Los
                   Angeles Co. Sup.
                   Crt., Metropolitan,
                   CA, Docket No.:
                   A190565

        According to the DMV, the defendant is the subject of this law enforcement
        contact. Attorney representation is unknown.

 95.    08/23/2011 22356(b) VC:              California Highway     01/02/2013:
        (Age 35)   Speeding more than        Patrol                 Outstanding FTP
                   70 MPH; Riverside
                   Co. Sup. Crt., Blythe,
                   CA, Docket No.:
                   17756NL

        Court documentation verifies that the defendant is the subject of this law
        enforcement contact. Attorney representation is unknown.

        Other Arrests

 96.    None.

 PART C. OFFENDER CHARACTERISTICS

 97.    The following information was obtained from Garcia during a presentence
        interview conducted on January 7, 2015, and, where noted, verified with
        supporting documents provided by the defendant.

 98.    To date, the undersigned’s attempts to contact Garcia’s sister, Blanca Garcia (B.
        Garcia), at (213) 271-0497 (cell) have been unsuccessful.

        Personal and Family Data

 99.    On December 28, 1975, Garcia was born Claudia Gabriela Garcia in Mexico.

 100.   The defendant’s father, Lucas Garcia, is a 57-year-old carpenter living in Dallas,
        Texas.

 101.   The defendant’s mother, Blanca Rangel, is a 55-year-old teacher living at the
        Arlington Avenue address indicated on the face sheet of this report.


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 102.       Garcia has three siblings, all of whom live in Los Angeles. Blanca Garcia, age 39,
            is a dental assistant. Juana Garcia, age 37, is a medical biller. Jonathan Garcia, age
            29, is a restaurant manager.

 103.       Garcia said that she had a fun childhood in a stable household located in a working
            class neighborhood. She described her family as close knit, and her childhood as
            “sheltered.” Her parents were strict.

 104.       Because she believed her parents maintained a “good family,” it was a shock when
            her parents divorced in 1991 when she was 16-years-old. The divorce tore their
            family apart. In reaction to the divorce, she became a rebellious teenager and
            runaway. She and her siblings moved back and forth between their mother’s strict
            household and father’s relaxed household.

 105.       After dating since 2000, the defendant married Bibiano Rico (Rico), a
            neighborhood boy, on November 7, 2007. After breaking up in 2010, the
            defendant and Rico are in the process of getting a divorce.5

 106.       Garcia said that Rico, who began using drugs in 2004, was an abusive partner and
            husband. After being in and out of jail, Rico went to prison in 2008 to serve a
            lengthy sentence. Garcia believes that Rico will be deported after he is released
            from his current prison sentence.

 107.       In a prior relationship with Sal Sanchez (Sanchez), the defendant had a healthy
            son. Damian Sanchez, age 18, is a part-time worker and community college
            student hoping to attend UCLA. Garcia said that her 18-year-old son had no
            father-son relationship with Sanchez, who was in and out of prison and then
            deported in 2012.

 108.       With Rico, the defendant has a healthy son. Bibiano Rico is 12-years-old. When
            Rico was arrested in 2008, her son went through a period of rebellion. More
            recently, her 12-year-old son has improved his school grades and attitude. Her 12-
            year-old son is attached to her because they spend a lot of time together.

 109.       Garcia is concerned about her two sons as she has been the primary parent.
            Although he was a decent father, Rico will be deported so her sons cannot rely on
            him (Rico).

 110.       As for residential history, the defendant said that she was born in Mexico. In 1977,
            her parents brought her to the United States when she was two-years-old. From
            1977 until 1990, she and her family lived in homes located in Hollywood and the
            mid-city neighborhood in Los Angeles. From 1990 to 1991, she and her family
            lived in San Bernardino. After her parents divorced in 1991, she moved back and
            forth between her mother’s home in the mid-city neighborhood and her father’s
            home in Montebello and East Los Angeles.

 5
     In part, verified by copy of dissolution of marriage filing.


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 111.    On January 15, 2015, the undersigned conducted a home assessment of the
         Arlington Avenue address, which is located on a busy street in a working class
         neighborhood. The USPO met with the defendant. Additionally, the defendant’s
         stepfather and oldest son and the family’s two dogs were present in the home,
         which is located on a large lot. On the same property, there are two other housing
         units, one of which is occupied by the defendant’s brother and girlfriend, and
         another of which is occupied by a tenant. There is a locked gate that surrounds the
         driveway and the property, which has a well maintained courtyard and garden.

 112.    During the home visit on January 15, 2015, the USPO observed that the defendant
         and her mother, stepfather, and two sons live in a three-bedroom and two-
         bathroom home. The home was cluttered but clean. The defendant’s mother and
         stepfather share one bedroom, and the defendant’s sons each occupy a bedroom.
         The defendant is sleeping on the sofa in the living room. Garcia explained that she
         and her mother are awaiting the outcome of the case and her financial ability to
         pay the rent, before she will be permitted to move into the housing unit currently
         occupied by the tenant. Garcia said that her mother has owned the Arlington
         Avenue address since 2002.

 113.    When questioned about sources of support, the defendant said that she can rely on
         her sons and her mother and stepfather. She has a good relationship with her
         father, who calls on a regular basis. Further, she can depend on her co-workers,
         case manager, and counselor at Homeboy Industries. On a regular basis, she
         maintains contact with her drug counselors at Tarzana Treatment Center.

 114.    The defendant provided letters of reference – specifically, letters from Homeboy
         Industries’ Executive Director, and staff members (Curriculum Coordinator, Case
         Manager, and Director of Food and Beverage). The letter writers agree that Garcia
         is sincere in her desire to redirect her life. The Case Manager reports that Garcia is
         “taking great strides towards a meaningful future while making the conscious
         choice to turn away from her previous lifestyle,” and “Claudia has achieved a level
         of self-sufficiency and self-empowerment that is unprecedented for her and will
         continue to increase.” The Director of Food and Beverage reports that Garcia has
         had near perfect attendance, and “a great attitude and willingness to adapt and
         change herself,” and “Claudia has never said no to anything we have asked her to
         do and always jumps in to support her teammates.”

         Physical Condition

 115.    Garcia stands 5' 1" tall and weighs 139 pounds. She has brown eyes and black
         hair. As for identifying marks, Garcia reports that she has four tattoos and a
         surgical scar on her abdominal area.6

 116.    As for physical health history, the defendant reports the following:

 6
  The Program Coordinator of the tattoo program at Homeboy Industries verified that as of September 20, 2013, the
 defendant had undergone ten tattoo laser treatments to remove her tattoos.


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     a) In 2005, she underwent surgery to remove a benign tumor from the left side of her
        stomach. After the tumor removal, she has healed from this ailment.

     b) In 2015, she is in the process of scheduling surgery to remove her gall bladder,
        followed up by a one week surgical recovery period. The surgery is needed
        because she has suffered from pain in the area of her gallbladder since 2009.

         Mental and Emotional Health

 117.    During the interview with the Probation Officer, the defendant displayed no
         obvious signs of psychological dysfunction.

 118.    Since 2013, the defendant has been seeing a counselor at Homeboy Industries
         once a week.7 They discuss the stress of dealing with the instant offense, and her
         divorce from an abusive spouse.

         Substance Abuse

 119.    Garcia said that at age 15, she used marijuana a few times, and began drinking
         alcohol on a regular basis. Over the years, her alcohol intake increased and
         occurred on a daily basis.

 120.    At age 17, the defendant inhaled powder cocaine and powder methamphetamine
         on a few occasions, smoked heroin twice, used hallucinogens (including LSD and
         PCP) for a six-month period, and then used crack cocaine. Garcia said that she
         preferred crack, alcohol and methamphetamine. She became a regular user of
         crack cocaine.

 121.    Beginning at age 17, the defendant began using her drugs of choice, alcohol in
         combination with crack cocaine, on a daily basis. From age 19 to age 26, she did
         not use crack cocaine but continued to drink alcohol. She stopped using crack
         cocaine during her pregnancy with her first son. At age 26, she resumed her crack
         cocaine use because Bibiano began to use crack cocaine. At age 29, she stopped
         using crack cocaine but continued to drink alcohol, as much as a 30 pack of
         alcohol with friends every day. At age 37, she tried using crack cocaine for a few
         weeks but then she quit when she began working for Home Boys Industry.

 122.    From October 2012 to May 2013, the defendant attended the inpatient drug
         treatment program at Tarzana Treatment Center. Since May 2013, she has
         attended AA and NA meetings at Homeboy Industries or the Tarzana Treatment
         Center for two hours each week. She does not need inpatient drug treatment, but,




 7
  Verified by the Case Manager at Homeboy Industries, who said that Garcia attends an hour of therapy each week
 with a licensed clinical social worker.


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          she wants to continue attending AA and NA meetings because they are helpful.8
          She has been clean and sober for 27 months.

 123.     In a letter dated September 17, 2013, the Primary Counselor at the Tarzana
          Treatment Center reported that from October 16, 2012, to May 24, 2013, Garcia
          attended residential treatment at the Tarzana Treatment Center of Long Beach for
          chemical dependency.9 During the treatment program, Garcia tested negative on
          all drug screenings, and attended individual substance abuse counseling on a
          weekly basis and psycho-education progress groups. According to the Primary
          Counselor, Garcia “maintained a consistently high level of participation in her
          treatment and remained engaged.” Further, Garcia was promoted to be an
          Assistant Senior Elder, who assisted staff in daily operational duties.

 124.     From November 2012 to February 2013, Garcia received eight certificates
          recognizing her services above and beyond her duties in the kitchen, and three
          certificates recognizing her 1350 hours of volunteer service working in the kitchen
          at the Tarzana Treatment Center.

          Educational, Vocational and Special Skills

 125.     The defendant said that she completed eleven years of schooling. She did not have
          academic problems and got along with her teachers. However, she stopped
          attending school after her parents divorced.

 126.     In September 2013, the defendant passed the general educational development
          (GED) test, and earned a high school equivalency certificate from the State of
          California.10

 127.     Garcia said that she has basic computer skills and cooking skills.

          Employment Record

 128.     From August 2012 until the present, the defendant has been employed as a food
          preparer and cook for Homeboy Industries.11 She earns $1,100 per month.12 Her
          employers know of the offense.13



 8
   Attendance at Substance Abuse Treatment, Narcotics Anonymous classes and Criminal and Gang Members
 Anonymous classes verified by Curriculum Coordinator at Homeboy Industries.
 9
   The Primary Counselor at the Tarzana Treatment Center described the residential program as a “highly structured
 treatment modality.”
 10
    Verified by copy of certificate and GED test results, which noted that the defendant scored in the 98 percentile
 rank for language arts reading, 79 percentile rank for language arts writing, 38 percentile rank for mathematics, 62
 percentile rank for science, and 58 percentile rank for social studies. Additionally, the Curriculum Coordinator at
 Homeboy Industries reported that the defendant attended multiple GED classes, and other academic classes,
 including creative writing classes, and life skills classes that addressed leadership, public speaking, building
 relationships for women, relapse prevention, parenting, yoga, and anger management.
 11
    Verified by letter of reference from Executive Director.
 12
    In part, verified by W-2 Wage and Tax Statement for 2013.


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 129.    In addition to her job at Homeboy Industries, the defendant works as a volunteer at
         Sleep Tight. Approximately eight hours each week, she delivers food to the sober
         living facility.

 130.    From 2000 to 2012, Garcia was a stay-at-home mother. During these difficult
         years, she was dealing with her addiction. Further, she could not keep a job
         because her spouse was physically abusive, which left visible scars and bruises on
         her body.

 131.    From 2000 to 2002, the defendant was employed at Ink, a business in Culver City
         that sold printer ink. She earned $1,000 per month until the business closed.

 132.    From 1999 to 2002, the defendant was employed as a supervisor for a customer
         service call center operated by Genesis Incorporated located in Van Nuys. She
         earned $1,600 per month until she was laid off.

 133.    From 1996 to 1999, the defendant was employed as an administrative assistant for
         Lalique Incorporated located in Beverly Hills. She earned $1,200 each month until
         new management took over the business.

 134.    When questioned about the future, the defendant said that her job at Homeboy
         Industries is a permanent job. She also is considering accepting a job at the
         Tarzana Treatment Center.

         Financial Condition: Ability to Pay

 135.    The financial statements, signed by the defendant, reflect the following:

         Assets

         Personal Checking                                                                       $3.20
         Account
         Stocks                              2000 Jeep Grand                               $2,000.00
                                             Cherokee

         Total Assets                                                                      $2,003.20

         Liabilities

         Medical                             Cedar Sinai Hospital                          $1,000.00
         Other Liability Type                Los Angeles Co. Sup.                          $4,000.00
                                             Crt. traffic tickets (3)
         Other Liability Type                Tmobile cellphone                               $800.00

 13
   The Director of Food and Beverage of Homeboy Industries reports that Garcia “always gives 100 percent and is
 an extremely hard worker,” and “Homegirl Café and Catering feels like she is vital to our team, and if presented
 with the chance, we would love to make her a permanent employee of our growing business in order that she may
 help mentor future trainees.”


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        Total Liabilities                                              $5,800.00

        Total Net Worth                                              ($3,796.80)

        Monthly Income

        Salary                                                         $1,100.00
        Food                                                            $450.00
        Stamps/Allowances
        Other Income               tips                                   $50.00

        Total Monthly Income                                           $1,600.00

        Monthly Expenses

        Groceries and Supplies     3 in household                        $450.00
        Telephone                                                         $75.00
        Gas                                                              $180.00
        Auto Insurance                                                    $66.00
        Life Insurance                                                    $94.00
        Clothing                                                         $200.00
        Medical Expenses                                                  $73.00
        Court Ordered              co-payment                             $12.60
        Obligations

        Total Monthly                                                  $1,150.60
        Expenses

        Total Monthly Cash                                               $449.40
        Flow

 136.   In support of the information reported on her financial statements, the defendant
        provided the following documents: W-2 Wage and Tax Statement for 2013; and
        Form 1040 individual income tax return for 2013.

 137.   Based on the Federal 1040 Income Tax Returns in tax year 2013, the defendant
        filed head of household, and adjusted gross income earnings of $10,258.

        Assessment of Financial Condition

 138.   The undersigned recognizes that Garcia currently has positive total monthly cash
        flow, likely due to the fact that she pays no mortgage or rent. However, upon
        release from custody, the defendant’s immigration status is uncertain and she will
        have housing costs. As such, based on Garcia’s reported financial position, her
        wage history, and her existing family obligations, it appears that she lacks the
        current or future ability to pay a fine.


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        Assessment of Ability to Pay

 139.   Immediate Payment: None

 140.   Payment Schedule: None

 PART D. SENTENCING OPTIONS

        Custody

 141.   Statutory Provisions: The maximum term of imprisonment is 20 years. 21
        U.S.C. § 846 and 21 U.S.C. § 841(b)(1)(C).

 142.   Guideline Provisions: Based upon a total offense level of 18 and a criminal
        history category of III, the guideline imprisonment range is 33 months to 41
        months.

        Impact of Plea Agreement

 143.   None.

        Supervised Release

 144.   Statutory Provisions: The Court must impose a term of supervised release of at
        least three years. 21 U.S.C. § 841(b)(1)(C).

 145.   Guideline Provisions: The guideline term of supervised release is three years.
        USSG §5D1.2(c).

        Probation

 146.   Statutory Provisions: The defendant is eligible for not less than one nor more
        than five years of probation because the offense is a Class C Felony. 18 U.S.C. §
        3561(c)(1). One of the following must be imposed as a condition of probation
        unless extraordinary circumstances exist: a fine, restitution, or community service.

 147.   Guideline Provisions: Since the applicable guideline range is in Zone D of the
        Sentencing Table, the defendant is ineligible for probation. USSG §5B1.1,
        comment.(n.2).

        Fines

 148.   Statutory Provisions:      The maximum fine is $1,000,000.00. 21 U.S.C. §
        841(b)(1)(C).

 149.   A special assessment of $100.00 is mandatory. 18 U.S.C. § 3013.

 150.   Guideline Provisions: The fine range for this offense is $6,000 to $1,000,000. If
        the defendant is convicted under a statute authorizing (A) a maximum fine greater

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        than $250,000, or (B) a fine for each day of violation, the Court may impose a fine
        up to the maximum authorized by the statute. USSG §5E1.2(c)(4).

 151.   Costs of prosecution shall be imposed on the defendant as required by statute.
        USSG §5E1.5. In determining whether to impose a fine and the amount of such
        fine, the Court shall consider, among other factors, the expected costs to the
        government of any term of probation, or term of imprisonment and term of
        supervised release imposed. USSG §5E1.2(d)(7) and 18 U.S.C. § 3572(a)(6).
        These costs may include drug and alcohol treatment, electronic monitoring, and/or
        contract confinement costs. The most recent advisory from the Administrative
        Office of the United States Courts, dated May 17, 2014, provides the following
        monthly cost data:

                                       Bureau of           Community     Supervision by
                                Prisons Facilities          Correction Probation Officer
                                                              Centers
        Daily                              $80.25               $72.91             $8.66
        Monthly                         $2,440.97            $2,217.73          $263.50
        Annually                       $29,291.62           $26,612.76         $3,162.03



        Restitution

 152.   Restitution is not an issue in this case.

        Denial of Federal Benefits

 153.   Statutory Provisions: At the discretion of the Court, the defendant, having been
        convicted of a first drug distribution offense, shall be ineligible for any or all
        federal benefits for up to five years after such conviction. 21 U.S.C. §
        862(a)(1)(A).

 154.   Guideline Provisions: The Court, pursuant to 21 U.S.C. § 862, may deny the
        eligibility for certain federal benefits of any individual convicted of distribution or
        possession of a controlled substance. USSG §5F1.6.

 PART E. FACTORS THAT MAY WARRANT DEPARTURE

 155.   The probation officer has not identified any factors that would warrant a departure
        from the applicable sentencing guideline range.

 PART F. FACTORS THAT MAY WARRANT A SENTENCE OUTSIDE OF THE
     ADVISORY GUIDELINE SYSTEM

 156.   18 U.S.C. § 3553(a)(1): The nature and circumstances of the offense, along with
        the history and characteristics of the defendant, may afford a basis for a downward
        variance.

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 157.   Garcia became involved with Homeboy Industries in August 2012. As part of her
        commitment to changing her life, she successfully completed a strict residential
        drug treatment program, passed the GED test, and acquired job skills. Garcia said
        that she has stayed away from active gang members. As recognized by the staff
        members at Homeboy Industries and those involved with her addiction recovery,
        Garcia has taken on the difficult task of rehabilitation with a good attitude, and she
        serves as a mentor to others. As verified by her reference letters, the defendant has
        a strong positive support network at Homeboy Industries and Tarzana Treatment
        Center.

                                                   Respectfully Submitted,

                                                   MICHELLE A. CAREY
                                                   Chief U.S. Probation Officer




                                                   PAMELA CHEN
                                                   U.S. Probation Officer
                                                   213-894-6022



 Approved:




 SUSAN JONES
 Supervisor
 213-894-6025


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